Case 4:17-cv-00009-AWA-RJK Document 42 Filed 08/11/17 Page 1 of 7 PagelD# 778

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

NEWPORT NEWS DIVISION
HARRY L. GOODRICH
and AGNES P. GOODRICH
Plaintiffs,
v. CIVIL ACTION NO.: 4:17-cv-00009-AWA-RJK

AIR & LIQUID SYSTEMS
CORPORATION, Successor by Merger
to BUFFALO PUMPS, INC.., et al.,

Defendants.

STIPULATION OF VOLUNTARY DISMISSAL

Plaintiffs, by counsel, and pursuant to Rule 41(a)(ii) of The Federal Rules of Civil
Procedure, seek to dismiss, voluntarily and with prejudice, the following named defendants:
GOULDS PUMPS, INC.

It is the Plaintiffs’ intention that this Stipulation of Voluntary Dismissal apply only to the
Defendant, GOULDS PUMPS, INC., named in this Stipulation, and the above-captioned action
continue as to all remaining Defendants.

There are no pending counterclaims or cross-claims.

All Parties who have appeared in this action stipulate to the voluntary dismissal, with
prejudice, of GOULDS PUMPS, INC., as evidenced by the signatures of their respective
counsel,

WHEREFORE, the Court hereby grants this Stipulation of Voluntary Dismissal and

dismisses, with prejudice, Defendant GOULDS PUMPS, INC.
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We ask for this:

  
 

 

Erin E. Jewell, Esq.
Robert R. Hatten, :
Donald N. Patten, Esq. (VSB # 06869)

Hugh B. McCormick, II], Esq. (VSB # 37513)

William W.C. Harty, Esq. (VSB # 45447)

F. Alex Coletrane, Esq. (VSB # 78381)

PATTEN, WORNOM, HATTEN & DIAMONSTEIN, L.C.
12350 Jefferson Avenue - Suite 300

Newport News, VA 23602

757.223.4500 Telephone

757.249.3242 Facsimile

pleadings@pwhd.com

wharty@pwhd.com

ejewell@pwhd.com

Counsel for Plaintiffs

#71082)

    

Stipulated Dismissal — Goulds Pumps, Inc.
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We ask for this:

Seer Mees

Steven A. Luxton, Eso. ~

Christopher Popecki, Esq.

Sherlyn Wiggs, Esq.

MORGAN, LEWIS & BOCKIUS LLP
1111 Pennsylvania Ave. NW
Washington, DC 20004-2541

Counsel for Goulds Pumps, Inc.

Stipulated Dismissal — Goulds Pumps, Inc.
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Brian J. Schneider, Esq.
Eric G. Reeves, Esq.
Martin A. Conn, Esq.
MORAN, REEVES & CONN, P.C.
100 Shockoe Slip, 4th Floor
Richmond, VA 23219
Counsel for John Crane, Inc.

Stipulated Dismissal — Goulds Pumps, Inc.
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VE

trog> Forsta Esq.

Carl Schwertz, Esq.

MILES & STOCKBRIDGE, P.C.
1751 Pinnacle Dr., Suite 1500
Tysons Corner, VA 22102-3833

Counsel for Air & Liquid Systems Corp.,
successor by merger to Buffalo Pumps, Inc.

Stipulated Dismissal — Goulds Pumps, Inc.
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Seen and agreed:

Christopher J. Wiemk ae
TAYLOR WALK
555 E. Main Street, aie S08

P.O. Box 3490
Norfolk, VA 23510
Counsel for Crane Co.

Stipulated Dismissal — Goulds Pumps, Inc.
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Seen and agreed:

 

 

Timothy S. Bruck, Esq.

Marilyn Harvey, Esq.

CLARKE, DOLPH, RAPAPORT, HULL & BRUNICK, PLC
5712 Cleveland St., Ste. 130

Virginia Beach, VA 23462

Counsel for IMO Industries, Inc.

Stipulated Dismissal — Goulds Pumps, Inc.
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